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POH ANSEL, JAMES DORAN,

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FRED QIANNETTO, GARY

Case NogCv 03-8201 TJH (Ex)

PROPOSED] CASE
MRS AGEMENT ORDER

 

 

 

 

 

JODY RONDE, DAVID FORD,
=BRENDANWMCGANN, JILL
LANDSMAN)ERIC DETWILER
ALAN FITTS, and ALLEN HOUSE,
on behalf of themselves and classes
of those similarly situated,
Plaintiffs,
V.
COMPUTER SCIENCES
CORPORATION,
Defendant.
1. The schedule for class certification set forth in Local Rule 23-3
does not apply in this case.
2. The statute of limitations applicable to the Fair Labor Standards
Act (“FLSA”) claim shall be tolled from February 9, 2004 through the date ninety
(90) days after the Court rules on Plaintiffs’ motion to send notice of the FLSA
claim to similarly situated persons pursuant to Hoffmann-La Roche Inc. v. Sperling,
493 U.S. 165 (1989). The tolling agreement applies to all individuals that the
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CV 03-8201 TIH (EX}

 
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Courts eventually find to be similarly situated under 29 U.S.C. § 216(b) and who
opt-in to this action. i

3. Plaintiffs’ motion for permission to send notice to all potential
Nationwide FLSA Collective Plaintiffs shall be filed no earlier than August 30,"
2004 and no later than October 29, 2004.

4. Plaintiffs’ motion for class certification pursuant to Rule 23
shall be filed no earlier than September 30, 2004 and no later than March 31, 2005.

5. The parties are to use their best efforts to schedule a mediation
before David Rotman during the month of July 2004.

6. The parties shall meet and confer concerning the scope and
timing of the information exchange necessary in advance of the planned mediation.
The parties will file a proposed information exchange schedule within two weeks.
In the event the parties are unable to reach agreement as to the scope and timing of
such an exchange of information, such disputes may be submitted to the Magistrate
Judge assigned to this case.

7. If the parties are able to agree on the scope and timing of an
information exchange schedule, with the exception of the information exchange
described in the previous paragraph, all other discovery will be stayed until the
completion of the planned mediation.

8. The trial shall be bifurcated into a liability phase and a damages
phase.

9. The due date for Defendant’s response to the First Amended
Complaint shall be continued until August 10, 2004, after the mediation.

IT IS SO ORDERED.

Dated: 4/77, 2004 Poe (/ Whe

The Hofgtable Terry J. Hater
United&tates District Court Judge

 

2 [PROPOSED] CASE MANAGEMENT ORDER

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Case 2:03-cv-08201-GPS-EX Document 8 Filed 02/18/04 wv 30f4 Page ID#:3

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PROOF OF SERVICE

1013A(3) CCP Revised 5/1/88

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES, ht
Iam employed in the county of Los Angeles, State of California. ] am over the age of 18 and :

not a party to the within action; my business address is: 865 S. Figueroa Street, 10th Floor, Los Angeles, 4

California 90017.
On February 13, 2004, I served the foregoing document(s) described as:

[PROPOSED] CASE MANAGEMENT ORDER

on the interested party(ies) in this action by placing a true copy thereof enclosed in a sealed envelope,
addressed as follows:

SEE ATTACHED SERVICE LIST
_X_ BY MAIL
*] deposited such envelope in the mail at , California.

 

The envelope was mailed with postage thereon fully prepaid.

_X__ Jam “readily familiar" with the firm's practice of collection and processing
correspondence for mailing. It is deposited with U.S. postal service on that same day
with postage thereon fully prepaid at Los Angeles, California in the ordinary course of
business. I am aware that on motion of the party served, service is presumed invalid if
postal cancellation date or postage meter date is more than one day after date of deposit
for mailing in affidavit.

BY PERSONAL SERVICE I delivered such envelope by hand to the offices of the addressee.

BY TELECOPIER By transmitting the above listed document(s) to the fax number(s) set forth on
this date,

BY FEDERAL EXPRESS by placing the document(s) listed above in such envelope for
deposit with FEDERAL EXPRESS to be delivered via priority overnight service to the

persons at the addresses set forth above.

Executed on February 13, 2004, at Los Angeles, California.

(State) I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

__X_ (Federal) I declare that I am employed in the office of a member of the bar of this court at
whose direction the service was made.

Sandra Alcala Crohn Hel

Type or Print Name Signdture
 

Case 2:03-cv-08201-GPS-EX Document 8 Filed 02/18/04 oe 4of4 Page ID #:4

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